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                        EXHIBIT 2
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                                                              NORTHERN DISTRICT OF CALIFORNIA
                          17                                         OAKLAND DIVISION
                          18       COALITION ON HOMELESSNESS, et al.,            CASE NO. 4:22-cv-05502-DMR
                          19                              Plaintiffs.            SUPPLEMENTAL DECLARATION OF
                                             v.                                  IAN JAMES IN SUPPORT OF THE
                          20
                                                                                 REPLY IN SUPPORT OF
                          21
                                   CITY AND COUNTY OF SAN FRANCISCO,             PLAINTIFFS’ MOTION FOR
                                   et. al.,                                      PRELIMINARY INJUNCTION
                          22                             Defendants.
                                                                                 Judge:         The Hon. Donna M. Ryu
                          23
                                                                                 Hearing Date: December 22, 2022
                          24                                                     Time:         1:00 p.m.
                                                                                 Place:        Courtroom 4 – 3rd Floor
                          25
                                                                                               1301 Clay Street
                          26                                                                   Oakland, CA 94612

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                                                                                                CASE NO. 4:22-CV-05502-DMR
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                               1                        SUPPLEMENTAL DECLARATION OF IAN JAMES

                               2   I, Ian James, hereby declare pursuant to 28 U.S.C. § 1746:

                               3          1.      I currently serve as the Organizing Director for the Coalition on Homelessness

                               4   (“COH” or “the Coalition”). All facts set forth in this declaration are based upon my personal

                               5   knowledge, and, if called upon to testify as to the truth of these facts, I could and would

                               6   competently do so.

                               7          2.      I previously submitted a declaration regarding my observations of the City’s

                               8   encampment resolutions and treatment of unhoused people and their property. I submit this

                               9   further supplemental declaration regarding my direct observations at HSOC encampment

                          10       resolutions that took place in October and November 2022—and for which the Coalition was

                          11       given notice pursuant to this Court’s order requiring 72-hour written notice to Plaintiffs.

                          12       Recent Observations at HSOC Encampment Resolutions

                          13              A.      October 24, 2022: Caesar Chavez & Valencia

                          14              3.      On October 24, 2022, I observed an HSOC encampment resolution scheduled to

                          15       take place at Caesar Chavez & Valencia at 7:00 AM. I arrived at the location of the encampment

                          16       resolution at approximately 7:00 AM. When I arrived at the encampment, I observed 9 unhoused

                          17       individuals who were present at the site. At least 19 City employees from the SFPD, DPW, HOT,

                          18       SFFD, and DPH conducted this encampment resolution. I observed that DPW had brought at least

                          19       two dumpster trucks with them.

                          20              4.      DPW Operations Prior to Any Shelter Offers: Around 7:15 AM, the HOT team

                          21       began “assessing” unhoused individuals for shelter and informing them that they were required

                          22       to depart the area. However, the HOT team did not offer any individuals shelter at this time. The

                          23       HOT team did not give concrete shelter offers until around 9:00 AM. However, DPW began

                          24       conducting removal operations around 8:30 AM, requiring individuals to pack up their belongings

                          25       and depart and grabbing at unhoused people’s belongings. None of the unhoused individuals

                          26       received an offer of shelter prior to DPW beginning their enforcement operations. Furthermore,

                          27       even after several individuals were eventually offered and accepted a spot at a safe sleeping

                          28       village (i.e. not a shelter at all because not indoors)—and after the City had watched them pack
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                               1   up all of their belongings—the City team informed them that they could only take two bags of

                               2   their property with them. The rest would be discarded and destroyed—not bagged and tagged.

                               3   When the few individuals who had been given this offer were told that they would have to give

                               4   up their belongings, they chose to decline the outdoor sleeping village to safeguard their critical

                               5   survival belongings.

                               6           B.     October 27, 2022: 16th Street & Capp

                               7           5.     On October 27, 2022, I observed an HSOC encampment resolution scheduled to

                               8   take place at 16th Street and Capp at 7:00 AM. I arrived at the location of the encampment

                               9   resolution at approximately 7:00 AM. When I arrived at the encampment, I observed 11 unhoused

                          10       individuals who were present at the site. At least 21 City employees from the SFPD, DPW, HOT,

                          11       SFFD, and DPH conducted this encampment resolution, supported by 1 pressure washer truck.

                          12               6.     Lack of Any Shelter Offers: Around 7:30 AM, I observed the HOT team begin

                          13       informing unhoused individuals at the encampment that they had to depart the area. No shelter

                          14       offers were made at this time. At approximately 8:30 AM, one hour after the HOT team had

                          15       ordered individuals to depart and DPW had begun their removal and cleaning operations, I

                          16       observed the HOT team make a shelter offer to only one unhoused person out of the eleven

                          17       present. That one person subsequently waited two hours for a written referral and transportation

                          18       to shelter. However, no written referral or transportation ever arrived, and at 10:30 AM—2 hours

                          19       later—she departed the area. Of the 11 individuals who were present at the site and ordered to

                          20       pack up and depart the area by the City, this was the only individual who I observed receive a

                          21       shelter offer from the HOT team. No one else appeared to receive a shelter offer from the HOT

                          22       team at all.

                          23               C.     November 3, 2022: 18th Street & Harrison

                          24               7.     On November 3, 2022, I observed an HSOC encampment resolution scheduled to

                          25       take place at 18th Street and Harrison at 7:00 AM. I arrived at the location of the encampment

                          26       resolution at approximately 6:55 AM. When I arrived at the encampment, I observed 13 unhoused

                          27       individuals present at the site. At least 23 City employees from the SFPD, DPW, HOT, SFFD,

                          28       and HSH agencies conducted this encampment resolution, supported by at least 3 DPW pressure
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                               1   washer trucks.

                               2          8.        Lack of Shelter Offers: Around 7:10 AM, I observed the HOT team begin

                               3   informing individuals at the encampment that they were required to depart the area. No shelter

                               4   offers were made at this time. With no shelter offer and under threat of enforcement, many

                               5   individuals departed the area before HOT knew their shelter availability for the day. At

                               6   approximately 8:10 AM, the DPW team arrived and gave individuals only about 20 minutes to

                               7   pack and leave. At 8:30 AM, DPW began conducting removal operations. At approximately the

                               8   same time, the HOT team began making shelter bed offers. However, of the 13 unhoused

                               9   individuals originally present, I observed that the HOT team only made shelter offers to three

                          10       individuals.

                          11              9.        Harassment: While observing this encampment resolution, I experienced

                          12       harassment from the SFFD Captain, identified as Patrick, and the HOT team. The HOT team

                          13       stood in a line next to me to mock my presence and the SFFD Captain stated that “one of these

                          14       things is not like the other.” When I attempted to take a photo of this harassment, the HOT team

                          15       dispersed and moved away.

                          16              D.        November 9, 2022: Willow & Van Ness

                          17              10.       On November 9, 2022, I observed an HSOC encampment resolution scheduled to

                          18       take place at Willow and Van Ness at 7:00 AM. I arrived at the location of the encampment

                          19       resolution at approximately 7:00 AM. When I arrived at the encampment, I observed

                          20       approximately 32 unhoused individuals present. At least 22 City employees from SFPD, DPW,

                          21       HOT, SFFD, HSH, and DPH conducted this encampment resolution, supported by at least 3 DPW

                          22       dumpster trucks and 2 power washer trucks.

                          23              11.       Lack of Posted Notice: I did not observe that the City posted notice regarding the

                          24       encampment resolution anywhere near the encampment prior to the resolution taking place. I

                          25       spoke with individuals present at the site and confirmed that they had not seen any notice posted.

                          26              12.       Lack of Shelter Offers: The HOT team only started offering shelter beds to

                          27       individuals at 8:40 AM, when they learned about the shelter beds that were available that day. In

                          28       my observation, of the 32 individuals present, the HOT team only made shelter offers to 3
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                              1   individuals. Furthermore, I observed one individual inform HOT that they wanted shelter, but the

                              2   HOT team refused to provide a shelter offer to that individual because they could not produce

                              3   any valid form of identification.

                              4          E.      November 17, 2022: Isis Street & Division

                              5          13.     On November 17, 2022, I observed an HSOC encampment resolution scheduled

                              6   to take place at 12th and Howard at 7:00 AM. I arrived at the location of the encampment

                              7   resolution as it was reported to the Coalition at 7:00 AM. However, when I arrived, there was no

                              8   resolution taking place at that location.

                              9          14.     It was only after an hour that I came upon the actual resolution, which was

                         10       occurring at Isis Street and Division. When I arrived, I observed approximately 9 unhoused

                         11       individuals who were present at the site. At least 24 City employees from SFPD, DPW, HOT,

                         12       SFFD, and SFMTA conducted this encampment resolution.

                         13              15.     Enforcement Without Shelter Offers: I observed that the City did not offer anyone

                         14       present at the site shelter on this occasion. Nonetheless, individuals were told to move along

                         15       starting at 7:00 AM. When DPW finished power washing the area around 8:45 AM, there was

                         16       still one individual present who was trying to pack up his belongings. SFPD, SFFD, and HOT

                         17       remained for over an hour waiting until the individual, with nowhere else to go, moved across the

                         18       street. At one point, six police officers were standing around their police car close by the person's

                         19       tent while he packed up to move, in an apparently intimidating manner.

                         20
                         21       I declare under penalty of perjury that the contents of this declaration are true and correct to the

                         22       best of my knowledge, and that I executed this declaration on November 30, 2022 in San

                         23       Francisco, California.

                         24
                                                                                         _________________
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                         26                                                              Ian James

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